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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.                                          CASE NO.: 2:12-cr-155 (3)
                                                            JUDGE SMITH
                                                            MAGISTRATE JUDGE DEAVERS
JOSE SANTOS GARCIA-ISIORDIA,

                       Defendant.


                                            ORDER

       On July 30, 2013, the Magistrate Judge issued a Report and Recommendation pursuant to

28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant’s guilty plea to an Indictment

charging him with conspiracy to possess with intent to distribute 1,000 grams or more of heroin in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(I) and 846. Defendant, represented by counsel,

waived his right to appear on the matter before a District Judge. The Magistrate Judge conducted

the colloquy required by Rule 11 of the Federal Rules of Criminal Procedure. Defendant’s plea was

knowing, voluntary, free from coercion, and had a basis in fact.

       Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
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       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to the Indictment. Defendant is hereby adjudged guilty of conspiracy to

possess with intent to distribute 1,000 grams or more of heroin.

               IT IS SO ORDERED.


                                                     /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




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